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 5

 6   Attorney for Defendant
     CHARLES HEAD
 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                )
11   UNITED STATES OF AMERICA,                  )   Case No. 2:08-CR-093/116-KJM
                                                )
12                                              )   APPLICATION AND [PROPOSED]
                              Plaintiff,        )   ORDER RE: SACRAMENTO
13                                              )   COUNTY JAIL TO PROVIDE
             vs.                                )
14                                              )   CHARLES HEAD HIS OPTICAL
     CHARLES HEAD, et al.,                      )   PRESCRIPTION CONTACTS
15                                              )
                             Defendants.        )
16                                              )
                                                )
17                                              )
18
                                           APPLICATION
19

20           Defendant Charles Head, by and through his counsel Scott L. Tedmon, files

21   this application for an order requiring the Sacramento County Jail to immediately
22
     provide Mr. Head his optical prescription contacts that are now located in Head’s
23
     property at said Jail. The basis for this application is that Mr. Head requires
24
     prescription contacts to read and function. Without his optical contacts, Mr. Head
25

26
     cannot read with any degree of effectiveness, is limited in function, and suffers from

27   severe headaches as a direct result of not having his contacts. Time is of the essence
28   as the current optical prescription contacts Mr. Head is now using expires today.



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 1           Mr. Head has a trial currently scheduled to begin on September 9, 2013 in
 2
     Case No. 2:08-CR-0116-KJM before United States District Judge Kimberly J.
 3
     Mueller. Additionally, Mr. Head has sentencing to prepare for in Case No. 2:08-CR-
 4
     0093-KJM, which is also before Judge Mueller. Without regular and ongoing access
 5

 6   to his optical contacts, it will be impossible for Mr. Head to review materials and

 7   assist in his defense on both of the above-referenced cases. Therefore, it is
 8
     requested this Court issue an order directing the Sacramento County Jail to
 9
     immediately provide Mr. Head with his optical prescription contacts.
10
     DATED: August 7, 2013                     Respectfully submitted,
11
                                               LAW OFFICES OF SCOTT L. TEDMON
12
                                               /s/ Scott L. Tedmon
13                                             SCOTT L. TEDMON
                                               Attorney for Defendant Charles Head
14

15
                                            ORDER
16
             Based on the foregoing and good cause appearing, IT IS HEREBY
17

18   ORDERED that the Sacramento County Jail immediately provide defendant

19   Charles Head his optical prescription contacts that are now located in Mr. Head’s
20
     property at said Jail, or wherever else they might be located at said Jail.
21
     Additionally, the Sacramento County Jail is to provide Mr. Head with regular and
22
     ongoing access to his optical prescription contacts in the future.
23

24           IT IS FURTHER ORDERED that the United States Marshal serve this

25   Order on the Sacramento County Jail without delay.
26
             IT IS SO ORDERED.
27
     DATED: August 7, 2013
28




     Application and Order                                        Case No. 2:08-CR-093/116-KJM
                                                2
